The state moved to dismiss the appeal for failure to prosecute with due diligence. Such a motion is addressed to the court's discretion. The state properly abandoned its second ground for dismissal, that the defendant failed to file his assignment of errors in time, for the motion to dismiss on this ground was not made within the proper time limit. Cir. Ct. Rule 7.37.1.
The motion of the defendant to set aside the verdict was denied on June 26, 1962; his appeal was duly filed on July 9, 1962. He did not file a request for a finding or a draft finding, although his intention was to assign error in the charge to the jury. Cir. Ct. Rule 7.32.1. His attorney stated that this was his first Circuit Court appeal, that he was not familiar with the rules of the Circuit Court and that he assumed that the suspension of time limitations during the summertime which applies in appeals to the Supreme Court of Errors under § 414 of the Practice Book applied to the Circuit Court. Within a few days after the state had moved to dismiss the appeal, the defendant, on August 28, 1962, filed a request for a finding and a draft finding. Under the circumstances and in view of the comparatively short lapse of time involved, the motion to dismiss is denied. All Time Mfg. Co. v. Van Steenburgh,22 Conn. Sup. 464, 465.
   The motion to dismiss the appeal is denied.
PRUYN, KOSICKI and DEARINGTON, JS., participated in this decision.